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                                      IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF NEW MEXICO

             LAUREN ADELE OLIVER,
             an individual,

                      Plaintiff,

             v.                                                            Case No. 1:20-CV-00237-KK-SCY

             MEOW WOLF, INC., a Delaware
             corporation; VINCE KADLUBEK,
             an individual and officer; and
             DOES 1-50,

             Defendants.

                                          DECLARATION OF ELISA MONTOYA

                     I, Elisa Montoya, declare as follows:

                     1.     I have personal knowledge of the matters set forth below, am over the age of eighteen,

             and am otherwise competent to make this declaration.

                     2.     I am the Vice President of Administration & Legal of Meow Wolf, Inc. (Meow Wolf).

                     3.     It would be a staggering task for Meow Wolf to search for, locate, gather, and send to

             Meow Wolf’s litigation counsel all of the likely millions of documents sought in response to the

             broad categories of information above. None of the categories of information Ms. Oliver seeks is

             compiled in a single location nor can it be generated in a single report. Some of it is in hard paper

             copy only and dispersed throughout at least four locations. Each of the requests would require

             hundreds of labor hours, and months to compile. This is in addition to the time required by Meow

             Wolf’s litigation counsel to review the documents for responsiveness and privilege.

                     4.     This process would be extremely expensive and time consuming for Meow Wolf and

             would involve substantial effort by Meow Wolf’s in house counsel team, which comprises only


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             two individuals, one attorney and one staff member who shares responsibility for other non-legal

             related tasks and has approximately 25% of her time available for legal related issues.



             Plaintiff’s Request for Information Regarding Meow Wolf’s Investors
             and Their Interests in Meow Wolf (Interrogatory Nos. 1 and 2, Requests Nos. 14 and 15)

                     5.     Ms. Oliver asks Meow Wolf to identify and state each transaction involving each

             Meow Wolf investor’s interest in the company from 2008 to present. There have been between

             850 to more than 1000 investors in Meow Wolf over the course of the last 13 years.

                     6.     To first identify each investor, and then to determine each of those persons’ interests

             in Meow Wolf over a 13-year period, how they acquired those interests, what they earned upon

             alienation of any portion of those interests, and documents reflecting each of those transactions

             would be a monumental task and would require Meow Wolf to review thousands upon thousands

             of documents to determine whether the documents contain the information plaintiff requests. This

             information is not all stored in the same place; it would need to be gathered through archival

             resources, and also in separate physical locations. It is possible that Meow Wolf no longer uses the

             same software and online storage systems where some of this information may be stored,

             necessitating further investigation into whether some of this information could be accessed or

             recovered at all.

                      7.    Ms. Oliver also seeks documents beginning in 2008, many years before Meow Wolf

             became a company, and then became incorporated. Much of the information that may be

             responsive in this earlier time period, if available at all, is not easily accessible or found.

                      8.    While it would be hard to estimate how long it would take to find all documents

             related to these requests, we estimate it would take approximately six months, at a cost of hundreds


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             of labor hours involving at least five employees from multiple departments within Meow Wolf.

             “All Documents” Concerning Every
             Person Who Attended a Meow Wolf Event

                     9.     Ms. Oliver seeks “all documents” shared with every investor or prospective investor

             in Meow Wolf without any time limitation and whether or not such person invested in Meow Wolf

             (Request for Production No. 6); and the names, addresses, telephone numbers, email addresses,

             corporate affiliations or identifications, and titles of every person who attended a promotional or

             investor event held by Meow Wolf without any limitation in time (Interrogatory No. 6).

                     10. It would be difficult to even begin to estimate how many persons’ records Meow Wolf

             would have to search to provide the information of each person who has ever attended a

             promotional or investor event held by Meow Wolf. Meow Wolf has held hundreds of promotional

             events, including public open house events and national promotional conference events. The likely

             number of people who have attended Meow Wolf promotional or investor events is thousands.

                     11. To determine what documents and information these thousands of persons would

             have received, Meow Wolf would have to review online, paper, and archival resources stored in

             different physical locations to determine the dates and locations of each of several hundred (if not

             thousands) events, which representative or representatives of Meow Wolf were in attendance and

             the purpose of the event to determine what information may have been provided to attendees, and

             who would have attended.

                     12. It is difficult to determine how long this would take, but I estimate it would require

             Meow Wolf to devote hundreds of labor hours by at least three Meow Wolf employees over the

             course of six months to search for, gather, piece together, and verify the information and

             documents requested.


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             “All Documents” Concerning Every Contract
             Between Meow Wolf and Hundreds of Artists

                     13. Although this case is only about Ms. Oliver and one work of art in the House of

             Eternal Return, Ms. Oliver seeks “All documents concerning any contract and/or agreement

             between Meow Wolf and any Participating Artist between January 1, 2014 and June 3, 2019,

             including but not limited to the contracts or agreements themselves, drafts, and communications

             concerning any contract and/or agreement.” (Request for Production No. 11).

                     14. “Participating Artists” is defined by Ms. Oliver in her discovery as “any person that

             contributed copyrightable works of art to the HoER as more fully described in the Complaint.”

                     15. More than 400 people contributed to the House of Eternal Return. How many of those

             made “copyrightable works of art” is something that would take specialized legal review of each

             one and about which reasonable minds differ.

                     16. Broadly speaking, there are easily at least 150 people who meet that standard over the

             5 ½ year period specified by Ms. Oliver.

                     17. Some of those people were outside artists like Ms. Oliver who worked on a discreet

             room or spot within HoER, and others were contractors who worked on many aspects of HoER.

             Some artists became employees with Meow Wolf and have employment agreements with Meow

             Wolf which provide for the use of copyrightable works created by the employees in the scope of

             their employment. Many people who fit within this category had multiple agreements with Meow

             Wolf—contractor agreements, employment agreements, bonus payment agreements, and other

             forms of agreements.

                     18. We are a company that is built on artist engagement, and daily exchange hundreds of

             phone calls, emails, and other written communications with outside artists. Asking for “all


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             documents concerning” a contract for the creation of copyrightable works of authorship would

             easily require that we simply produce all communications between each artist and any

             representative of Meow Wolf, and communications among all representatives of Meow Wolf

             regarding each work.

                     19. The information sought is likely available in electronic and hard archives in three

             different locations and would take months to locate, review, and produce with the assistance of at

             least 6 Meow Wolf employees.

                     20. We anticipate that millions of documents are responsive to this request.



             “All documents” Concerning the Removal of
             Other Copyrightable Works—The Chapel & Rabbit Room

                     21. Ms. Oliver has requested “All documents concerning the removal of any

             copyrightable work from HoER” (Request for Production No. 16).

                     22. We understand that Ms. Oliver has agreed to limit her request to “all documents”

             concerning the removal of The Chapel by Billy Joe Miller and Rabbit Room by Sarah Bradley, but

             even a request limited to the removal of those two artists works’ would involve substantial time

             and investment of Meow Wolf resources.

                      23. For instance, Meow Wolf would first have to determine each individual person within

             Meow Wolf who was involved in the removal of each work, and track down all associated emails

             and hard copy documents, including but not limited to every communication between Meow Wolf

             representatives and the artists, every communication between and among Meow Wolf staff, and

             every email between Meow Wolf staff and other contractors who may have been hired to assist

             with removal of the works.


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                     24. We expect this information exists in electronic and hard archives in three different

             locations and would take a month for two Meow Wolf employees to search for, review, and provide

             to our litigation counsel.

                     25. All of the work described above would have to be performed before we could provide

             the responsive documents to our litigation counsel, Bardacke Allison LLP. Bardacke Allison LLP

             would then be required to review each document for responsiveness, privilege, and to determine

             whether the information contained in each document is confidential to apply the appropriate

             designation before documents could be produced.

                     26. Meow Wolf removed Rabbit Room to provide room for storage of musical equipment

             for concerts held at Meow Wolf. Meow Wolf’s removal of Rabbit Room is not related in any way

             to Ms. Oliver’s claims against Meow Wolf.



             Lauren Oliver’s April 2015 Email with Vince Kadlubek

                     27. As Vice President of Administration & Legal of Meow Wolf, I am a custodian of

             records for Meow Wolf, and understand Meow Wolf’s record keeping system, including how

             records are maintained by Meow Wolf in the regular course of business. Meow Wolf maintains in

             the regular course of business email records of its employees and officers, including the email

             records of Vince Kadlubek who was a founder of Meow and its CEO.

                     28. One such email record is an April 2015 email exchange between Lauren Oliver and

             Vince Kadlubek, which is attached hereto as Exhibit A.

                     29. This record was made at or near the time of the occurrence of the matters set forth in

             the record by a person with knowledge, namely, Vince Kadlubek. The record was kept in the



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             course of regularly conducted business activity.

                     I declare under penalty of perjury under the laws of the United States of America that the

             foregoing is true and correct.

                     Dated: March 15, 2021


                                                            ELISA MONTOYA




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                          EXHIBIT A




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                          EXHIBIT A




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